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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF KANSAS
                                (Wichita Docket)


UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )       Criminal Action
                                           )
v.                                         )       No. 6:19-cr-10069-JWB
                                           )
DAVID L. MADDEN,                           )
                                           )
                     Defendant.            )


                                     INDICTMENT

The Grand Jury charges:

                                         COUNT 1

                    UNLAWFUL POSSESSION OF A MACHINE GUN
                                   [Title 18, U.S.C. 922(0)]

       On or about February 22, 2017, in the District of Kansas, the defendant,

                                   DAVID L. MADDEN,

knowingly possess a machine gun, to wit; the defendant possessed a fully automatic AK-

47 machine gun which he had smuggled into the United States from Iraq.

       The above act was in violation of 18 U.S.C. 922(o).

                                  FORFEITURE NOTICE

       1.      The allegations contained in Count 1 of this Indictment are hereby

realleged and incorporated by reference for the purpose of alleging forfeiture pursuant to




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Title 18, United States Code, Section 924(d) and Title 28, United States Code, Section

2461(c).

       2.      Upon conviction of the offense set forth in Count 1 of this Indictment, the

defendant, shall forfeit to the United States pursuant to Title 18, United States Code,

Section 924(d) and Title 28, United States Code, Section 2461(c), any firearm and

ammunition involved in the commission of the offense, including, but not limited to:

               A.     an AK-47 machine gun in 7.62 x .39 caliber, S/N 79HH7060;

               B.     ammunition.

       All pursuant to 18 United States Code, Section 924(d) and Title 28 United States

Code, Section 2461(c).



                                                   A TRUE BILL



April 23, 2019                                     s/ Foreman
DATE                                               FOREMAN OF THE GRAND JURY


s/ STEPHEN R. McALLISTER
STEPHEN R. McALLISTER
United States Attorney
District of Kansas
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Ks. S. Ct. No. 15845

(It is requested that trial be held in Wichita, Kansas.)




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